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                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                  )   Chapter 7
 In re:                                           )
                                                  )
 DAMIEN AGOUCHA and                               )   Case No. 18-10841-elf
 OBIOMA ULUMMA AGOUCHA,                           )
                                                  )
                              Debtors.            )
                                                  )

  OBJECTION OF GARY F. SEITZ, CHAPTER 7 TRUSTEE, TO THE MOTION OF
 NEW PENN FINANCIAL, LLC D/B/A SHELLPOINT MORTGAGE SERVICING FOR
                RELIEF FROM THE AUTOMATIC STAY

          Gary F. Seitz, Chapter 7 Trustee in the above-captioned bankruptcy case (the “Trustee”),

by and through undersigned counsel, hereby objects to the Motion of NEW PENN FINANCIAL,

LLC D/B/A SHELLPOINT MORTGAGE SERVICING (“Movant”) for Relief from the

Automatic Stay (the “Motion”), and, in support thereof, respectfully state as follows:

          1.     Admitted.

          2.     Admitted.

          3.     Denied. The allegations in this paragraph reference a document, the truth of which

speaks for itself and to which no response is required.

          4.     Denied. The allegations in this paragraph reference a document, the truth of which

speaks for itself and to which no response is required.

          5.     Denied.     The Trustee is without sufficient information to admit or deny the

allegations in this paragraph and therefore denies same.

          6.     Denied as a conclusion of law.
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       7.      Denied as a conclusion of law. By way of further response, the Trustee is in the

process of retaining a real estate agent to market and sell the Debtors’ real property, for the benefit

of all creditors, including Movant.

       WHEREFORE, the Trustee respectfully requests that the Court deny the relief requested

in the Motion, and for such other relief as this Court may deem just and proper.


Dated: July 30, 2018                    GELLERT SCALI BUSENKELL & BROWN LLC

                                               /s/ Holly S. Miller
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